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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
JOSEPH GUGLIELMO, on behalf of himself and :
all others similarly situated,                                         :
                                                                       :    1:20-cv-7368
                               Plaintiffs,                             :
                                                                       :   CLASS ACTION COMPLAINT
                               v.                                      :            AND
                                                                       :    DEMAND FOR JURY TRIAL
NIALAYA JEWELRY, INC.,                                                 :
                                                                       :
                              Defendant.                               :
                                                                       :
                                                                       :
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                                                INTRODUCTION
1.        Plaintiff JOSEPH GUGLIELMO, on behalf of himself and others similarly

          situated, asserts the following claims against Defendant NIALAYA JEWELRY,

          INC. as follows.

2.        Plaintiff is a visually-impaired and legally blind person who requires screen-

          reading software to read website content using his computer. Plaintiff uses the terms

          “blind” or “visually-impaired” to refer to all people with visual impairments who

          meet the legal definition of blindness in that they have a visual acuity with

          correction of less than or equal to 20 x 200. Some blind people who meet this

          definition have limited vision. Others have no vision.

3.        Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people in

          the United States are visually impaired, including 2.0 million who are blind, and

          according to the American Foundation for the Blind’s 2015 report, approximately

          400,000 visually impaired persons live in the State of New York.




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4.   Plaintiff brings this civil rights action against Defendant for its failure to design,

     construct, maintain, and operate its website to be fully accessible to and

     independently usable by Plaintiff and other blind or visually-impaired people.

     Defendant’s denial of full and equal access to its website, and therefore denial of

     its goods and services offered thereby, is a violation of Plaintiff’s rights under the

     Americans with Disabilities Act (“ADA”).

5.   Because Defendant’s website, www.nialaya.com (the “Website”), is not equally

     accessible to blind and visually impaired consumers, it violates the ADA. Plaintiff

     seeks a permanent injunction to cause a change in Defendant’s corporate policies,

     practices, and procedures so that Defendant’s website will become and remain

     accessible to blind and visually-impaired consumers.

                           JURISDICTION AND VENUE
6.   This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331

     and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42

     U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.

7.   This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over Plaintiff’s

     New York City Human Rights Law, N.Y.C. Admin. Code § 8-101 et seq.,

     (“NYCHRL”) claims.

8.   Venue is proper in this district under 28 U.S.C. §1391(b)(1) and (2) because

     Defendant conducts and continues to conduct a substantial and significant amount

     of business in this District, and a substantial portion of the conduct complained of

     herein occurred in this District because Plaintiff attempted to utilize, on a number

     of occasions, the subject Website within this Judicial District.




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9.    Defendant is subject to personal jurisdiction in this District. Defendant has been

      and is committing the acts or omissions alleged herein in the Southern District of

      New York that caused injury and violated rights the ADA prescribes to Plaintiff

      and to other blind and other visually impaired-consumers. A substantial part of the

      acts and omissions giving rise to Plaintiff’s claims occurred in this District: on

      several separate occasions, Plaintiff has been denied the full use and enjoyment of

      the facilities, goods and services offered to the general public, on Defendant’s

      Website in New York County. These access barriers that Plaintiff encountered have

      caused a denial of Plaintiff’s full and equal access multiple times in the past, and

      now deter Plaintiff on a regular basis from accessing the Defendant’s Website in

      the future.

10.   This Court is empowered to issue a declaratory judgment under 28 U.S.C. §§ 2201

      and 2202.

                                    THE PARTIES
11.   Plaintiff JOSEPH GUGLIELMO, at all relevant times, is and was a resident of

      Suffolk County, New York.

12.   Plaintiff is a blind, visually-impaired handicapped person and a member of a

      protected class of individuals under the ADA, under 42 U.S.C. § 12102(1)-(2), and

      the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., and

      NYCHRL.

13.   Defendant is and was at all relevant times a California Corporation doing business

      in New York.

14.   Defendant’s Website, and its goods, and services offered thereupon, is a public

      accommodation within the definition of Title III of the ADA, 42 U.S.C. § 12181(7).


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                                NATURE OF ACTION
15.   The Internet has become a significant source of information, a portal, and a tool for

      conducting business, doing everyday activities such as shopping, learning, banking,

      researching, as well as many other activities for sighted, blind and visually-

      impaired persons alike.

16.   In today’s tech-savvy world, blind and visually impaired people have the ability to

      access websites using keyboards in conjunction with screen access software that

      vocalizes the visual information found on a computer screen or displays the content

      on a refreshable Braille display. This technology is known as screen-reading

      software. Screen-reading software is currently the only method a blind or visually-

      impaired person may use to independently access the internet. Unless websites are

      designed to be read by screen-reading software, blind and visually-impaired

      persons are unable to fully access websites, and the information, products, goods

      and contained thereon.

17.   Blind and visually-impaired users of Windows operating system-enabled

      computers and devices have several screen reading software programs available to

      them. Some of these programs are available for purchase and other programs are

      available without the user having to purchase the program separately. Job Access

      With Speech, otherwise known as “JAWS” is currently the most popular, separately

      purchased and downloaded screen-reading software program available for a

      Windows computer. Another popular screen-reading software program available

      for a Windows computer is NonVisual Desktop Access “NVDA”.

18.   For screen-reading software to function, the information on a website must be

      capable of being rendered into text. If the website content is not capable of being


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      rendered into text, the blind or visually-impaired user is unable to access the same

      content available to sighted users.

19.   The international website standards organization, the World Wide Web

      Consortium, known throughout the world as W3C, has published version 2.1 of the

      Web Content Accessibility Guidelines (“WCAG 2.1”). WCAG 2.1 are well-

      established guidelines for making websites accessible to blind and visually-

      impaired people. These guidelines are universally followed by most large business

      entities and government agencies to ensure their websites are accessible.

20.   Non-compliant websites pose common access barriers to blind and visually-

      impaired persons. Common barriers encountered by blind and visually impaired

      persons include, but are not limited to, the following:

             a.      A text equivalent for every non-text element is not provided;

             b.      Title frames with text are not provided for identification and

             navigation;

             c.      Equivalent text is not provided when using scripts;

             d.      Forms with the same information and functionality as for sighted

             persons are not provided;

             e.      Information about the meaning and structure of content is not

             conveyed by more than the visual presentation of content;

             f.      Text cannot be resized without assistive technology up to 200%

             without losing content or functionality;

             g.      If the content enforces a time limit, the user is not able to extend,

             adjust or disable it;




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      h.      Web pages do not have titles that describe the topic or purpose;

      i.      The purpose of each link cannot be determined from the link text

      alone or from the link text and its programmatically determined link

      context;

      j.      One or more keyboard operable user interface lacks a mode of

      operation where the keyboard focus indicator is discernible;

      k.      The default human language of each web page cannot be

      programmatically determined;

      l.      When a component receives focus, it may initiate a change in

      context;

      m.      Changing the setting of a user interface component may

      automatically cause a change of context where the user has not been advised

      before using the component;

      n.      Labels or instructions are not provided when content requires user

      input, which include captcha prompts that require the user to verify that he

      or she is not a robot;

      o.      In content which is implemented by using markup languages,

      elements do not have complete start and end tags, elements are not nested

      according to their specifications, elements may contain duplicate attributes,

      and/or any IDs are not unique;

      p.      Inaccessible Portable Document Format (PDFs); and,

      q.      The name and role of all User Interface elements cannot be




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             programmatically determined; items that can be set by the user cannot be

             programmatically set; and/or notification of changes to these items is not

             available to user agents, including assistive technology.

                              STATEMENT OF FACTS
21.   Defendant is a jewelry company that owns and operates www.nialaya.com (its

      “Website”), offering features which should allow all consumers to access the goods

      and services and which Defendant ensures the delivery of such goods throughout

      the United States, including New York State.

22.   Defendant’s Website offers products and services for online sale and general

      delivery to the public. The Website offers features which ought to allow users to

      browse for items, access navigation bar descriptions and prices, and avail

      consumers of the ability to peruse the numerous items offered for sale.

23.   Plaintiff is a visually-impaired and legally blind person, who cannot use a computer

      without the assistance of screen-reading software. Plaintiff is, however, a proficient

      NVDA screen-reader user and uses it to access the Internet. Plaintiff has visited the

      Website on separate occasions using a screen-reader.

24.   On multiple occasions, the last occurring in July of 2020, Plaintiff visited

      Defendant’s website, www.nialaya.com, to make a purchase. Despite his efforts,

      however, Plaintiff was denied a shopping experience similar to that of a sighted

      individual due to the website’s lack of a variety of features and accommodations,

      which effectively barred Plaintiff from being able to determine what specific

      products were offered for sale.

25.   Many features on the Website lacks alt. text, which is the invisible code

      embedded beneath a graphical image. As a result, Plaintiff was unable to


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      differentiate what products were on the screen due to the failure of the Website to

      adequately describe its content. Such issues were predominant in the section where

      Plaintiff was attempting, but was unsuccessful, in making a purchase.

26.   Many features on the Website also fail to Add a label element or title attribute for

      each field. This is a problem for the visually impaired because the screen reader

      fails to communicate the purpose of the page element. It also leads to the user not

      being able to understand what he or she is expected to insert into the subject field.

      As a result, Plaintiff and similarly situated visually impaired users of Defendant’s

      Website are unable to enjoy the privileges and benefits of the Website equally to

      sighted users.

27.   Many pages on the Website also contain the same title elements. This is a problem

      for the visually impaired because the screen reader fails to distinguish one page

      from another. In order to fix this problem, Defendant must change the title elements

      for each page.

28.   The Website also contained a host of broken links, which is a hyperlink to a non-

      existent or empty webpage. For the visually impaired this is especially paralyzing

      due to the inability to navigate or otherwise determine where one is on the website

      once a broken link is encountered. For example, upon coming across a link of

      interest, Plaintiff was redirected to an error page. However, the screen-reader failed

      to communicate that the link was broken. As a result, Plaintiff could not get back

      to his original search.

29.   These access barriers effectively denied Plaintiff the ability to use and enjoy

      Defendant’s website the same way sighted individuals do.




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30.   It is, upon information and belief, Defendant’s policy and practice to deny Plaintiff,

      along with other blind or visually-impaired users, access to Defendant’s website,

      and to therefore specifically deny the goods and services that are offered to the

      general public. Due to Defendant’s failure and refusal to remove access barriers to

      its website, Plaintiff and visually-impaired persons have been and are still being

      denied equal access to Defendant’s Website, and the numerous goods and services

      and benefits offered to the public through the Website.

31.   Due to the inaccessibility of Defendant’s Website, blind and visually-impaired

      customers such as Plaintiff, who need screen-readers, cannot fully and equally use

      or enjoy the facilities, products, and services Defendant offers to the public on its

      Website. The access barriers Plaintiff encountered have caused a denial of

      Plaintiff’s full and equal access in the past, and now deter Plaintiff on a regular

      basis from equal access to the Website.

32.   If the Website were equally accessible to all, Plaintiff could independently navigate

      the Website and complete a desired transaction as sighted individuals do.

33.   Through his attempts to use the Website, Plaintiff has actual knowledge of the

      access barriers that make these services inaccessible and independently unusable

      by blind and visually-impaired people.

34.   Because simple compliance with the WCAG 2.1 Guidelines would provide Plaintiff

      and other visually-impaired consumers with equal access to the Website, Plaintiff

      alleges that Defendant has engaged in acts of intentional discrimination, including

      but not limited to the following policies or practices:

             a.      Constructing and maintaining a website that is inaccessible to




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               visually-impaired individuals, including Plaintiff;

               b.       Failure to construct and maintain a website that is sufficiently intuitive

               so as to be equally accessible to visually impaired individuals, including

               Plaintiff; and,

               c.       Failing to take actions to correct these access barriers in the face of

               substantial harm and discrimination to blind and visually-impaired

               consumers, such as Plaintiff, as a member of a protected class.

35.    Defendant therefore uses standards, criteria or methods of administration that have the

       effect of discriminating or perpetuating the discrimination of others, as alleged herein.

36.    The ADA expressly contemplates the injunctive relief that Plaintiff seeks in this

       action. In relevant part, the ADA requires:

       In the case of violations of . . . this title, injunctive relief shall include an order to
       alter facilities to make such facilities readily accessible to and usable by individuals
       with disabilities . . . Where appropriate, injunctive relief shall also include requiring
       the . . . modification of a policy . . .

42 U.S.C. § 12188(a)(2).

37.    Because Defendant’s Website has never been equally accessible, and because

       Defendant lacks a corporate policy that is reasonably calculated to cause its Website

       to become and remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and

       seeks a permanent injunction requiring Defendant to retain a qualified consultant

       acceptable to Plaintiff (“Agreed Upon Consultant”) to assist Defendant to comply

       with WCAG 2.1 guidelines for Defendant’s Website. Plaintiff seeks that this

       permanent injunction requires Defendant to cooperate with the Agreed Upon

       Consultant to:

               a.       Train Defendant’s employees and agents who develop the Website



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              on accessibility compliance under the WCAG 2.1 guidelines;

              b.      Regularly check the accessibility of the Website under the WCAG

              2.1 guidelines;

              c.      Regularly test user accessibility by blind or vision-impaired persons

              to ensure that Defendant’s Website complies under the WCAG 2.1

              guidelines; and,

              d.      Develop an accessibility policy that is clearly disclosed on Defendant’s

              Websites, with contact information for users to report accessibility-related

              problems.

38.    Although Defendant may currently have centralized policies regarding maintaining

       and operating its Website, Defendant lacks a plan and policy reasonably calculated

       to make them fully and equally accessible to, and independently usable by, blind

       and other visually-impaired consumers.

39.    Defendant has, upon information and belief, invested substantial sums in

       developing and maintaining their Website and has generated significant revenue

       from the Website. These amounts are far greater than the associated cost of making

       their Website equally accessible to visually impaired customers.

40.    Without injunctive relief, Plaintiff and other visually-impaired consumers will

       continue to be unable to independently use the Website, violating their rights.

                          CLASS ACTION ALLEGATIONS
41.    Plaintiff, on behalf of himself and all others similarly situated, seeks to certify a

       nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind

       individuals in the United States who have attempted to access Defendant’s Website




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       and as a result have been denied access to the equal enjoyment of goods and services,

       during the relevant statutory period.

42.    Plaintiff, on behalf of himself and all others similarly situated, seeks to certify a New

       York City subclass under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind

       individuals in the City of New York who have attempted to access Defendant’s

       Website and as a result have been denied access to the equal enjoyment of goods and

       services offered, during the relevant statutory period.

43.    Common questions of law and fact exist amongst the Class, including:

              a.         Whether Defendant’s Website is a “public accommodation” under

              the ADA;

              b.         Whether Defendant’s Website is a “place or provider of public

              accommodation” under the NYCHRL;

              c.         Whether Defendant’s Website denies the full and equal enjoyment

              of   its     products,   services,    facilities,   privileges,   advantages,   or

              accommodations to people with visual disabilities, violating the ADA; and

              d.         Whether Defendant’s Website denies the full and equal enjoyment

              of   its     products,   services,    facilities,   privileges,   advantages,   or

              accommodations to people with visual disabilities, violating the NYCHRL.

44.    Plaintiff’s claims are typical of the Class. The Class, similarly to the Plaintiff, are

       severely visually impaired or otherwise blind, and claim that Defendant has

       violated the ADA or NYCHRL by failing to update or remove access barriers on

       its Website so either can be independently accessible to the Class.




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45.    Plaintiff will fairly and adequately represent and protect the interests of the Class

       Members because Plaintiff has retained and is represented by counsel competent

       and experienced in complex class action litigation, and because Plaintiff has no

       interests antagonistic to the Class Members. Class certification of the claims is

       appropriate under Fed. R. Civ. P. 23(b)(2) because Defendant has acted or refused

       to act on grounds generally applicable to the Class, making appropriate both

       declaratory and injunctive relief with respect to Plaintiff and the Class as a whole.

46.    Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3) because

       fact and legal questions common to Class Members predominate over questions

       affecting only individual Class Members, and because a class action is superior to

       other available methods for the fair and efficient adjudication of this litigation.

47.    Judicial economy will be served by maintaining this lawsuit as a class action in that

       it is likely to avoid the burden that would be otherwise placed upon the judicial

       system by the filing of numerous similar suits by people with visual disabilities

       throughout the United States.

                         FIRST CAUSE OF ACTION
                VIOLATIONS OF THE ADA, 42 U.S.C. § 12181 et seq.
48.    Plaintiff, on behalf of himself and the Class Members, repeats and realleges every

       allegation of the preceding paragraphs as if fully set forth herein.

49.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

       No individual shall be discriminated against on the basis of disability in the full and
       equal enjoyment of the goods, services, facilities, privileges, advantages, or
       accommodations of any place of public accommodation by any person who owns,
       leases (or leases to), or operates a place of public accommodation.

42 U.S.C. § 12182(a).




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50.    Defendant’s Website is a public accommodations within the definition of Title III

       of the ADA, 42 U.S.C. § 12181(7). The Website is a service that is offered to the

       general public, and as such, must be equally accessible to all potential consumers.

51.    Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

       deny individuals with disabilities the opportunity to participate in or benefit from

       the products, services, facilities, privileges, advantages, or accommodations of an

       entity. 42 U.S.C. § 12182(b)(1)(A)(i).

52.    Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

       deny individuals with disabilities an opportunity to participate in or benefit from

       the products, services, facilities, privileges, advantages, or accommodation, which

       is equal to the opportunities afforded to other individuals. 42 U.S.C. §

       12182(b)(1)(A)(ii).

53.    Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also

       includes, among other things:

       [A] failure to make reasonable modifications in policies, practices, or procedures,
       when such modifications are necessary to afford such goods, services, facilities,
       privileges, advantages, or accommodations to individuals with disabilities, unless
       the entity can demonstrate that making such modifications would fundamentally
       alter the nature of such goods, services, facilities, privileges, advantages or
       accommodations; and a failure to take such steps as may be necessary to ensure that
       no individual with a disability is excluded, denied services, segregated or otherwise
       treated differently than other individuals because of the absence of auxiliary aids
       and services, unless the entity can demonstrate that taking such steps would
       fundamentally alter the nature of the good, service, facility, privilege, advantage,
       or accommodation being offered or would result in an undue burden.

42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

54.    The acts alleged herein constitute violations of Title III of the ADA, and the

       regulations promulgated thereunder. Plaintiff, who is a member of a protected class




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       of persons under the ADA, has a physical disability that substantially limits the

       major life activity of sight within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A).

       Furthermore, Plaintiff has been denied full and equal access to the Website, has not

       been provided services that are provided to other patrons who are not disabled, and

       has been provided services that are inferior to the services provided to non-disabled

       persons. Defendant has failed to take any prompt and equitable steps to remedy its

       discriminatory conduct. These violations are ongoing.

55.    Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and

       incorporated therein, Plaintiff, requests relief as set forth below.

                             SECOND CAUSE OF ACTION
                            VIOLATIONS OF THE NYCHRL
56.    Plaintiff, on behalf of himself and the New York City Sub-Class Members, repeats

       and realleges every allegation of the preceding paragraphs as if fully set forth herein.

57.    N.Y.C. Administrative Code § 8-107(4)(a) provides that “It shall be an unlawful

       discriminatory practice for any person, being the owner, lessee, proprietor,

       manager, superintendent, agent or employee of any place or provider of public

       accommodation, because of . . . disability . . . directly or indirectly, to refuse,

       withhold from or deny to such person, any of the accommodations, advantages,

       facilities or privileges thereof.”

58.    Defendant’s Website is a sales establishment and public accommodations within

       the definition of N.Y.C. Admin. Code § 8-102(9).

59.    Defendant is subject to NYCHRL because it owns and operates its Website, making

       it a person within the meaning of N.Y.C. Admin. Code § 8-102(1).




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60.    Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in refusing to

       update or remove access barriers to Website, causing its Website and the services

       integrated with such Website to be completely inaccessible to the blind. This

       inaccessibility denies blind patrons full and equal access to the facilities, products,

       and services that Defendant makes available to the non-disabled public.

61.    Defendant is required to “make reasonable accommodation to the needs of persons

       with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.]

       from discriminating on the basis of disability shall make reasonable

       accommodation to enable a person with a disability to . . . enjoy the right or rights

       in question provided that the disability is known or should have been known by the

       covered entity.” N.Y.C. Admin. Code § 8-107(15)(a).

62.    Defendant’s actions constitute willful intentional discrimination against the Sub-

       Class on the basis of a disability in violation of the N.Y.C. Administrative Code §

       8-107(4)(a) and § 8-107(15)(a) in that Defendant has:

              a.      constructed and maintained a website that is inaccessible to blind

              class members with knowledge of the discrimination; and/or

              b.      constructed and maintained a website that is sufficiently intuitive

              and/or obvious that is inaccessible to blind class members; and/or

              c.      failed to take actions to correct these access barriers in the face of

              substantial harm and discrimination to blind class members.

63.    Defendant has failed to take any prompt and equitable steps to remedy their

       discriminatory conduct. These violations are ongoing.




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64.    As such, Defendant discriminates, and will continue in the future to discriminate

       against Plaintiff and members of the proposed class and subclass on the basis of

       disability in the full and equal enjoyment of the products, services, facilities,

       privileges, advantages, accommodations and/or opportunities of its Website under

       § 8-107(4)(a) and/or its implementing regulations. Unless the Court enjoins

       Defendant from continuing to engage in these unlawful practices, Plaintiff and

       members of the class will continue to suffer irreparable harm.

65.    Defendant’s actions were and are in violation of the NYCHRL and therefore

       Plaintiff invokes his right to injunctive relief to remedy the discrimination.

66.    Plaintiff is also entitled to compensatory damages, as well as civil penalties and

       fines under N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) for each offense

       as well as punitive damages pursuant to § 8-502.

67.    Plaintiff is also entitled to reasonable attorneys’ fees and costs.

68.    Under N.Y.C. Administrative Code § 8-120 and § 8-126 and the remedies,

       procedures, and rights set forth and incorporated therein Plaintiff prays for

       judgment as set forth below.

                                 THIRD CAUSE OF ACTION
                                  DECLARATORY RELIEF
69.    Plaintiff, on behalf of himself and the Class and New York City Sub-Classes

       Members, repeats and realleges every allegation of the preceding paragraphs as if

       fully set forth herein.

70.    An actual controversy has arisen and now exists between the parties in that Plaintiff

       contends, and is informed and believes that Defendant denies, that its Website

       contains access barriers denying blind customers the full and equal access to the



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       products, services and facilities of its Website, which Defendant owns, operates and

       controls, fails to comply with applicable laws including, but not limited to, Title III

       of the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., and N.Y.C.

       Admin. Code § 8-107, et seq. prohibiting discrimination against the blind.

71.    A judicial declaration is necessary and appropriate at this time in order that each of

       the parties may know their respective rights and duties and act accordingly.

                                 PRAYER FOR RELIEF
       WHEREFORE, Plaintiff respectfully requests this Court grant the following relief:

              a.      A preliminary and permanent injunction to prohibit Defendant from

              violating the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq.,

              N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;

              b.      A preliminary and permanent injunction requiring Defendant to take

              all the steps necessary to make its Website into full compliance with the

              requirements set forth in the ADA, and its implementing regulations, so that

              the Website is readily accessible to and usable by blind individuals;

              c.      A declaration that Defendant owns, maintains and/or operates its

              Website in a manner that discriminates against the blind and which fails to

              provide access for persons with disabilities as required by Americans with

              Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y.C. Administrative Code

              § 8-107, et seq., and the laws of New York

              d.      An order certifying the Class and Sub-Classes under Fed. R. Civ. P.

              23(a) & (b)(2) and/or (b)(3), appointing Plaintiff as Class Representative,

              and his attorneys as Class Counsel;

              e.      Compensatory damages in an amount to be determined by proof,


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                including all applicable statutory and punitive damages and fines, to

                Plaintiff and the proposed class and subclasses for violations of their civil

                rights under New York City Human Rights Law and City Law;

                f.      Pre- and post-judgment interest;

                g.      An award of costs and expenses of this action together with

                reasonable attorneys’ and expert fees; and

                h.      Such other and further relief as this Court deems just and proper.

                             DEMAND FOR TRIAL BY JURY
         Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all questions

of fact the Complaint raises.

Dated:      Hackensack, New Jersey
            September 4, 2020

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